
Turley, J.
delivered the following opinion of the court.
Lemuel Phillips was sued as endorser of a bill single. The proof shows that he resided near the town of Columbia, Maury county, Ténnessee; that he had a tan-yard in the town of Columbia, and was also a partner in trade with one Beasly in the grocery business, in the same town; that he gave his personal attention botb at the tan-yard and the grocery store. The protest' of .the Notary Public shows, that the notice of the dishonor of the bill single was left in due time for tbe endorser Phillips, at the grocery store of Beasly &amp; Phillips. And the question is, whether this is a good notice.?
We are of opinion, that it is. Mr. Story, in his Treatise upon Bills of Exchange, sec. 279, says: “If the notice is to be given to a party in or near the place of the dishonor of the bill, and it is not sent bythegeneral post, it should be sentto, or given at his place of domicil, or his place of business, and either will be sufficient.” See sec. 300, and note 3, p. 331, and the numerous authorities there referred to. We think the same principle applies, when an endorser has several places of business, and notice is left at any one of them.
We, therefore, affirm the judgment of the Circuit Court,
